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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION
_________________________________

JUDY DOE
                                                           Docket No. 4:18-cv-00339
              Plaintiff

       -vs-

MICHAEL L. PARSON et al


              Defendants

_______________________________

                                    NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Judy Doe hereby appeals to the United States Court

of Appeals for the Eighth Circuit from the order granting Defendants’ motion to dismiss this

action entered on February 21, 2019.


March 17, 2019

                                            /s/ W. James Mac Naughton
                                            W. James Mac Naughton
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                                CERTIFICATE OF SERVICE



       W. James Mac Naughton certifies that I served this pleading on the persons listed below

by ECF on the date of this pleading was filed.

Eric Schmitt
Attorney General
Deputy General Counsel
P.O. Box 899
Jefferson City, MO 65102
Attorneys for Defendants

                                                   /s/ W. James Mac Naughton
                                                   W. James Mac Naughton




______________________
